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                 UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

In Re:                                        Case No. 8:18-bk-02135-MGW
RACHAEL ANNE HASKELL                          Chapter 7
            Debtor.
_________________________/


             INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

1.     I, Rachael Anne Haskell, the Debtor has filed a schedule of assets and liabilities
which includes consumer debts secured by property of the estate.

2.    My intention with respect to the property of the estate which secures those
consumer debts is as follows:

a.     Property to be surrendered:
Description of property                              Creditor’s name


b.      Property to be retained:
Description of property                              Creditor’s name
6177 Sun Blvd #404                                   Caliber Home Loans
St. Petersburg, FL 33715

3.      I understand that section 521(2)(B) of the Bankruptcy Code requires that I
perform the above stated intentions within 45 days of the filing of this statement with the
court, or within such additional time as the court, for cause, within such 45-day period
fixes.

The penalties for making a false statement or concealing property is a fine of up to
$5,000.00 or imprisonment for up to 5 years, or both. (18 U.S.C. §§152 and 3571)


   Signature: _/s/ Rachael Anne Haskell________ Date: _May 24, 2019__
              Rachael Anne Haskell
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                          CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by electronic filing notice to Kelly Remick, Trustee, and attached mailing
matrix on this _24th_ day of May, 2019.


                                            /s/ Maria D. Boudreaux, Esq.________
                                           Maria D. Boudreaux, Esq. F.B.N. 1008371
                                           LeavenLaw
                                           3900 First Street North, #100
                                            St. Petersburg, FL 33703
                                             (727)327-3328; (727) 327-3305 fax
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